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December 27, 2021

John L. Sinatra, Jr.

United States District Judge

Robert H. Jackson United States Courthouse
2 Niagara Square

Buffalo, New York 14202

Re: United States of America v. Joseph Bongiovanni, et al.
Case No.: 19-CR-227
Motion for Reconsideration

 

Dear Justice Sinatra:

Please be advised that HoganWillig, PLLC represents defendant Peter Gerace in the
above referenced case, in which we are requesting an Application for Indicative Ruling, pursuant
under the Federal Rules of Appellate Procedure §12.1 (b), regarding Hon. Michael J. Roemer’s
denial for Defendant’s request Amendment of the conditions of Mr. Gerace’s release pursuant to
18 U.S.C. § 3142 (a)(2). A copy of the Magistrate’s Order is enclosed for your review.

Should you review and overrule the Magistrate Judge’s decision, we will withdraw our
appeal currently at the 2nd Circuit and proceed accordingly.

Thank you for your consideration.

Respectfully submitted,

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Hamonyzan Healy, Esq.

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Enclosure

PERSONAL INJURY & MALPRACTICE | MATRIMONIAL & FAMILY LAW | LITIGATION | CORPORATE & BUSINESS LAW | CRIMINAL DEFENSE | REAL ESTATE LAW
ESTATE PLANNING, WILLS & TRUSTS | ESTATES | ELDER LAW | GUARDIANSHIPS | BANKRUPTCY & DEBT RELIEF | VEHICLE & TRAFFIC LAW | SOCIAL SECURITY DISABILITY

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